         Case 2:18-cv-00176-KGB Document 18 Filed 12/19/19 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                 DELTA DIVISION

HUBERT W. MARTIN, KAREN FARMER,
and MATTHEW WILLIAMS                                                          PLAINTIFFS

v.                             Case No. 2:18-cv-00176-KGB

LISA JULIAN, individually; BLAKE
HUDSON, individually; GILL
BRAZEALE, individually; and KEITH
WEAVER, individually                                                        DEFENDANTS

                                       JUDGMENT

       Pursuant to the Order entered this date, it is considered, ordered, and adjudged that

plaintiffs Hubert W. Martin, Karen Farmer, and Matthew Williams’ claims are dismissed.

       So adjudged this the 19th day of December, 2019.



                                           _______________________________
                                           Kristine G. Baker
                                           United States District Judge
